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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------------------------------- x
PATRICK RANKINE, individually and on behalf :
                                                                :
of all others similarly situated,
                                                                : Civil Action No. 1:22-cv-03362-VSB-SDA
                                                                :
                                    Plaintiff,
                                                                :
                                                                :
                           v.
                                                                :
                                                                :
LEVI STRAUSS & CO.,1
                                                                :
                                                                :
                                    Defendant.
                                                                :
                                                                :
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                           DEFENDANT’S RESPONSE TO PLAINTIFF’S
                           NOTICE OF SUPPLEMENTAL AUTHORITY

         Defendant Levi’s Only Stores, Inc. (“Levi’s”) submits this Response to Plaintiff Patrick

Rankine’s (“Plaintiff”) Notice of Supplemental Authority concerning Rath v. Jo-Ann Stores,

LLC, No. 21-CV-0791 (W.D.N.Y. Nov. 29, 2022) (ECF No. 36). For the reasons set forth

below, Rath does not support denial of Levi’s pending Motion to Dismiss or, in the Alternative,

to Stay Proceedings. (ECF No. 20).

         To begin, Rath is not binding upon this Court and consists merely of one court’s

prediction as to whether the New York Court of Appeals would determine that New York Labor

Law Section 191 contains an express private right of action. Levi’s respectfully submits that the

Rath Court’s holding suffers from many of the flaws highlighted by Levi’s in its discussion of

Vega v. CM & Assoc. Constr. Mgt., LLC, 175 A.D.3d 1144 (1st Dep’t 2019), including: (i)

equating the delayed, but full payment of wages, as an “underpayment” for purposes of Section

198(1-a); (ii) failing to consider the legislative histories of Sections 191 and 198(1-a), neither of


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         Levi’s Only Stores, Inc. is the name of the proper corporate entity.


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which suggest an intention of the Legislature to impose a penalty on employers that pay wages in

full, albeit on a bi-weekly rather than weekly pay cycle; and (iii) equating Section 191 to a “wage

claim” notwithstanding the enforcement scheme under Section 218 and the New York

Department of Labor’s habitual practice of levying only minor fines for Section 191 violations.

Further, Levi’s respectfully submits that the Rath Court did not meaningfully consider Konkur v.

Utica Academy of Science Charter School, 38 N.Y.3d 38 (2022) (declining to find a private right

of action under Section 198-b), dispensing with it solely upon the grounds that it concerned a

different section of the Labor Law. See Rath, No. 21-CV-0791 at p. 14.

         Second, the defendant in Rath did not advance, and the Rath Court did not address,

arguments concerning the plaintiff’s failure to sufficiently allege an “injury in fact” giving rise to

Article III standing.2 Here, a centerpiece of Levi’s Motion contends that the Complaint should

be dismissed pursuant to Federal Rule of Civil Procedure 12(b)(1) because Plaintiff limited his

allegation of harm to being “temporarily deprived of money owed to him, and he could not

invest, earn interest on, or otherwise use these monies that were rightfully his.” (ECF No. 20 at

p. 5-7). Rath does not impact this argument and thus provides no bar to the Court in granting

Levi’s Motion for this reason alone.

         Indeed, since Levi’s first briefed the standing issue, it has become even more apparent

Plaintiff has not plausibly alleged an injury in fact or standing. Section 191 states:

         A manual worker shall be paid weekly and not later than seven calendar days
         after the end of the week in which the wages are earned.

N.Y. Lab. Law § 191(a) (emphasis added). Plaintiff only alleges that he was paid bi-weekly

such that, in his view, “every other week” his wages were late. (Compl. ¶ 11). However, Levi’s


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        The Rath defendant previously – and successfully – challenged standing. See No. 21-CV-0791 (W.D.N.Y.
Aug. 26, 2022). However, the Rath Court granted the plaintiff leave to amend, which the plaintiff did without
challenge from the defendant.


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had seven days to make each payment from the last day of the week in which the wages were

earned. See N.Y. Lab. Law § 191(a). Plaintiff does not allege that his wages for the first week

were paid more than seven days after the workweek concluded, and as Plaintiff frames his

allegations, it appears that Plaintiff was paid wages for the second workweek less than seven

days after the workweek concluded, resulting in an accelerated payment. Thus, Plaintiff fails to

plausibly allege an injury in the form of “temporary deprivation of money” since he does not

allege he was paid any wages outside the prescribed statutory time period, and appears to

concede he was paid some wages faster than that required under Section 191.3

         Third, the defendant in Rath did not advance, and the Rath Court did not address,

arguments concerning the paucity of allegations supporting the plaintiff’s characterization as a

“manual worker” under Section 191. (ECF No. 36 at p. 15-16).

         And finally, the defendant in Rath did not argue, and the Rath Court did not address, the

propriety of a stay of proceedings pending the outcomes of the appeal in Grant v. Global Aircraft

Dispatch, Inc., No. 2021-03202 (App. Div. 2d Dep’t) and the proceedings in Mabe v. Wal-Mart

Assoc., Inc., No. 20-CV-00591 (N.D.N.Y.). Levi’s continues to believe a stay of proceedings is

appropriate here for all of the reasons addressed in its prior briefing, but with even further

conviction given the New York State Supreme Court, Appellate Division, Second Department’s

decision in Gutierrez v. Bactolac Pharm., Inc. – A.D.3d --, 2022 N.Y. Slip Op. 06233 (2d Dep’t

Nov. 9, 2022). This decision was not addressed in Rath. However, as Levi’s previously advised

the Court, (ECF No. 34), the Gutierrez Court affirmed the dismissal of a claim under Section 191

on the grounds that frequency of wage claims are not “unpaid wage” claims, a holding distinctly


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         Levi’s acknowledges that it did not advance this argument in its prior briefing. However, because “the
absence of subject matter jurisdiction may be raised at any time by a party or by the Court sua sponte,” Levi’s
respectfully requests the opportunity for the Parties to brief this issue further. See Rogers v. LVNV Funding, LLC,
No. 21-CV-796 (ENV)(RLM), 2022 WL 2292836, at *3 (E.D.N.Y. June 24, 2022).


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at odds with Vega. This holding thus suggests that Grant will be decided differently than Vega

giving rise to a split of authority at the New York Appellate Division.

Dated: New York, New York
       December 2, 2022
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